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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TERRANCE WOODS (B-15395),
Plaintiff,

Vv. Case No. 18 C 2168
TIMOTHY J. FAHY, O.D.,

WALTER NICHOLSON, DEBBIE
KNAUER, JOHN BALDWIN, DAVID
MANSFIELD, RANDY PFISTER &
TIFFANY UTKE,

Judge Matthew F. Kennelly

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Defendants.

PLAINTIFF’S FIRST AMENDED COMPLAINT

NOW COMES, Plaintiff, Terrance Woods, (“Plaintiff”), by and through his attorney,
Paul N. Bonadies of Dahl & Bonadies, LLC, and for his complaint against Defendants,
TIMOTHY FAHY, 0.D, WALTER NICHOLSON, DEBBIE KNAUER, JOHN BALDWIN,
DAVID MANSFIELD, RANDY PFISTER and TIFFANY UTKE, Plaintiff states as follow:

PARTIES

1. Plaintiff, Terrance Woods, is an inmate at the Illinois Department of Correction’s
Stateville Correctional Center (“Stateville”), located at 16830 IL-53, Crest Hill, IL 60403. His
identification number is B-15395.

2. Defendant, Timothy J. Fahy, O.D. (“Fahy”), is an eye-care physician, who treats
inmates at Stateville, and is employed or contracted either by the Illinois Department of
Corrections and/or Wexford Health Services who are contracted to provide medical care for
Stateville inmates. He is alleged to have been acting, at all times relevant to this case, in his

individual capacity and under the color of state law within the meaning of 42 U.S.C. § 1983.
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3. Defendant, Walter Nicholson (“Nicholson”), is the current Warden at Stateville.
Defendant Nicholson is currently legally responsible for the health, safety, and sanitation of the
inmates living conditions. He is alleged to have been acting, at all times relevant to this case, in
both his individual and official capacities and under the color of state law within the meaning of
42 U.S.C. § 1983.

4, Defendant, Debbie Knauer (“Knauer”), is a member of the Administrative Review
Board of the Illinois Department of Corrections (“IDOC”), and was responsible for reviewing
Plaintiff's grievances related to the mold at Stateville and ultimately denying his grievances. She
is alleged to have been acting, at all times relevant to this case, in both her individual and official
capacities and under the color of state law within the meaning of 42 U.S.C. § 1983.

5. Defendant, John Baldwin (“Baldwin”), Acting Director of the IDOC, was
responsible for reviewing Plaintiffs grievances related to the mold at Stateville and ultimately
denying his grievances. He is alleged to have been acting, at all times relevant to this case, in
both his individual and official capacities and under the color of state law within the meaning of
42 U.S.C. § 1983.

6. Defendant, David Mansfield (“Mansfield”), a grievance officer at Stateville, was
responsible for initially determining Plaintiff's grievances related to the mold at Stateville and
denied his grievances initially. He is alleged to have been acting, at all times relevant to this case,
in both his individual and official capacities and under the color of state law within the meaning
of 42 U.S.C. § 1983.

7. Defendant, Randy Pfister (“Pfister”) , was the Chief Administrative Officer at
Stateville, and approved and ratified the denial of Plaintiffs grievance related to the mold at

Stateville by Defendant Mansfield. He is alleged to have been acting, at all times relevant to this
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case, in both his individual and official capacities and under the color of state law within the
meaning of 42 U.S.C. § 1983.

8. Defendant, Tiffany Utke (“Utke’), is a nurse employed Wexford Health Services
and/or contracted to work for the IDOC who is responsible for relaying patient information to
Stateville grievance officers. She is alleged to have been acting, at all times relevant to this case,
in her individual capacity and under the color of state law within the meaning of 42 U.S.C. §
1983.

NATURE OF ACTION

9. This is a civil action brought pursuant to the Eighth and Fourteenth Amendments
of the United States Constitution to seek monetary, declaratory and injunctive relief under 42
U.S.C. § 1983, and to redress deprivations of Plaintiff's Civil Rights which were precipitated by
the unlawful cruel and unusual punitive acts and omissions of the Defendants, all while
purporting to act under the color of law.

JURISDICTION AND VENUE

10. This Court has jurisdiction under 28 U.S.C. § 1331 and 28 U.S.C. § 1343(a)(3).
The declaratory and injunctive relief sought is authorized by 28 U.S.C. §§ 2201, 2202, and 2284.

11. | Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because all events giving rise
to the causes of action occurred in the Northern District of Illinois.

12. _ Plaintiff has exhausted all administrative remedies available to him prior to
bringing this 42 U.S.C. § 1983 civil rights lawsuit within the meaning of the Prison Litigation

Reform Act, 42 U.S. C. § 1997(e)(a).
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FACTS COMMON TO ALL COUNTS

13. On April 5, 2017, Plaintiff complained to Fahy about irritation in his eyes. Fahy
diagnosed Plaintiff with Grade Two hyperemia and conjunctivitis — a serious eye condition. Fahy
noted that mold was the suspected cause of Plaintiffs condition.

14. At the time of these mold exposure complaints and his initial serious eye
condition diagnosis, Plaintiff lived in the B-block (Bravo House), frequented the law library, and
was also enrolled in classes at Stateville.

15. Plaintiff's April 5, 2017 complaints to Fahy stem from his exposure to mold in the
law library, classrooms, and Plaintiff's cell in the B-block (Bravo House). Specifically, there is
black mold on the beams and in the hallway corridors near the classrooms, and in the law library.

16. The mold still persists today and Plaintiff still remains exposed to the mold. The
toxic mold has harmed Plaintiff resulting in multiple serious eye condition diagnoses.

17. Plaintiff has been exposed to mold for an extended period of time at Stateville
Correctional Center. Since the April 5, 2017 diagnosis of mold-related eye conditions, Plaintiff
continued with routine follow-ups with Fahy.

18. Since his initial diagnosis and mold exposure, Plaintiff has been treated for
conjunctivitis, lacrimation, a blocked meibomian gland, dust mites, and blepharitis. All of these
serious medical conditions are related to his eyes and mold exposure.

19. Fahy prescribed numerous types of treatments and medications for Plaintiff’ s
mold related eye conditions but Plaintiff's condition still remains unresolved.

20. On December 27, 2017, Fahy recommended that Plaintiff seek a consultation with
an eye specialist at the University of Illinois Medical Center. Fahy cited dust mites may have

also caused grit in the tear layers of Plaintiff's eyes causing irritation and inflammation.
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21. Plaintiff was forced to wait over six months before receiving an outside medical
opinion while his grievances and complaints went unresolved. Throughout this waiting period,
Plaintiff's serious eye conditions persisted causing him severe discomfort, discharge from his
eyes, and irritation.

22. Plaintiffs serious eye condition has affected his ability to perform in the
classroom. He now has trouble reading to himself and aloud in class due to the nature of his eye
condition.

Plaintiff’s Grievances About The Mold & His Eye Condition

23. On May 24, 2017, Plaintiff filed an offender grievance stating that there was mold
in the school and law library of Stateville. Plaintiff requested the mold be removed as it caused
his serious eye condition. (A copy is attached hereto as Exhibit A.)

24. The grievance officer assigned to this grievance was Mansfield. On July 25, 2017,
Mansfield denied Plaintiffs grievance and took no further action. Pfister, the Chief
Administrative Officer, concurred with Mansfield’s denial of Plaintiff's grievance. (A copy is
attached hereto as Exhibit B.)

25. On July 28, 2017, Plaintiff explicitly appealed the denial of his grievance. (Ex. B.)

26. When reviewing Plaintiff's appeal of his grievance, Defendant Knauer again took
no action. (A copy of the appeal is attached as Exhibit C.)

27. On November 29, 2017, Defendants Knauer and Baldwin refused to give Plaintiff
a formal hearing. Defendants Knauer and Baldwin did not take further action to address
Plaintiff's request to rectify the mold in the school and other buildings listed in his grievance.

(Ex. C.) Plaintiff's complaints went unresolved.
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COUNT I -DELIBERATE INDIFFERENCE
TOWARDS PLAINTIFF’S SERIOUS MEDICAL CONDITION
UNDER THE EIGHTH & FOURTEENTH AMENDMENTS
TO THE U.S. CONSTITUTION

VIA 42 U.S.C. § 1983
(AGAINST ALL DEFENDANTS)

28. Plaintiff hereby incorporates all prior allegations as if fully pleaded here.

29. At all times complained of herein, Defendants caused a wanton infliction of pain
and demonstrated deliberate indifference towards Plaintiff's serious mold related eye conditions
while acting under the color of law in violation of Plaintiff's Eighth and Fourteenth Amendment
Rights under the Constitution of the United States by delaying and denying Plaintiff's required
medical care for over a year, including by failing to resolve his grievances.

30. Defendants knew of a substantial risk of harm, including, but not limited to
substantial pain and discomfort, and Defendants consciously disregarded those risks by failing to
take reasonable measures to provide Plaintiff with the appropriate medical treatment.

31. Defendants’ actions violated the Plaintiff's right to be free from the infliction of
cruel and unusual punishment under Eighth and Fourteenth Amendments of the Constitution of
the United States.

32. Plaintiff brings this cause of action pursuant to 42 U.S.C. § 1983, and seeks all
redress allowed by said statute, including but not limited to:

a. Pain and suffering compensation;
b. Disability compensation;
c. Mental distress compensation;

d. To be provided proper and continuing medical treatment for his mold related
eye condition;

e. To be provided with adequate equipment and medication for his mold related
eye condition;
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f. Removal of all mold from Stateville;

g. An award of Plaintiff's attorneys’ fees, costs, and litigation expenses under 42
U.S.C. § 12205, 29 U.S. § 794(a), and 42 U.S.C. § 1988; and

h. Any other relief this Court deems fair and just.

33. One or more of the aforesaid acts or omissions of the Defendants, and each of
them, were a proximate cause of the aforesaid violations of the Plaintiff's rights and the resulting
damages suffered by the Plaintiff.

WHEREFORE, Plaintiff, TERRANCE WOODS, prays for entry of judgment aforesaid,
and/or any additional relief deemed appropriate by this Court against all Defendants.

COUNT II - DECLARATORY RELIEF AND PERMANENT INJUNCTION

UNDER THE EIGHTH AMENDMENT &
FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION
FOR MOLD REMOVAL VIA 42 U.S.C. § 1983
(AGAINST DEFENDANTS NICHOLSON, KNAUER,
BALDWIN, MANSFIELD & PFISTER)

34. Plaintiff hereby incorporates all prior allegations as if fully plead here.

35.  Atall times and actions complained of herein, Defendants demonstrated a
deliberate indifference to Plaintiff's complaints of mold in the law library, school classrooms, his
cell, and other areas in Stateville while acting under the color of law.

36. | There have been numerous complaints of mold at Stateville — not just from
Plaintiff alone.

37. At all times and actions complained of herein, Defendants demonstrated a wanton
and deliberate indifference towards Plaintiff's complaints about mold at Stateville in violation of

Plaintiff's Eighth and Fourteenth Amendments Rights under the Constitution of the United

States,
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38. By refusing to act on Plaintiffs grievances and the complaints of other inmates,

Defendants have forced Plaintiff to be consistently exposed to mold and unsanitary prison

conditions, which resulted in Plaintiff developing a serious medical condition.

39. Defendants have imposed punishment far in excess of that authorized by law,

contrary to the Eighth and Fourteenth Amendments.

40. Plaintiff brings this cause of action pursuant to 42 U.S.C. § 1983, and seeks all

redress allowed by said statute, including but not limited to:

a.

f.

A judgment declaring that Defendants Nicholson, Knauer, Baldwin, and
Mansfield exhibited deliberate indifference towards Plaintiffs mold exposure
at Stateville;

A preliminary and permanent injunction ordering Defendants Nicholson,
Knauer, Baldwin, and Mansfield to immediately remove the toxic mold that
Plaintiff has been and is continuing to be exposed to;

An order enjoining Defendants Nicholson, Knauer, Baldwin, and Mansfield
from taking any action to interfere with Plaintiffs right to maintain this
action, or from retaliating in any way against Plaintiff for bringing this action;

An order retaining jurisdiction over this matter to ensure that the terms of any
injunction are fully implemented;

An award of Plaintiff's attorneys’ fees, costs, and litigation expenses under 42
ULS.C. § 12205, 29 U.S. § 794(a), and 42 U.S.C. § 1988; and

Any other relief this Court deems fair and just.

WHEREFORE, Plaintiff, TERRANCE WOODS, prays for entry of judgment aforesaid,

and/or any additional relief deemed appropriate by this Court against Defendants Nicholson,

Knauer, Baldwin, Mansfield and Pfister.

Paul N. Bonadies
DAHL & BONADIES, LLC

Respectfully submitted,

 

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